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 7
                             UNITED STATES DISTRICT COURT
 8
                                    DISTRICT OF ARIZONA
 9
     United States of America,                     )
10                                                 )   CR-22-08092-001-PCT-DGC
                             Plaintiff,            )
11                                                 )   REPLY RE: MOTION TO
     vs.                                           )   PRECLUDE PRETRIAL
12                                                 )
     Samuel Rappylee Bateman,                      )   PUNISHMENT
13                                                 )
                            Defendant.             )
14                                                 )
15
           Samuel Rappylee Bateman replies to the Response to his Motion to Preclude
16

17   Pretrial Punishment (Response) (Doc. 58).
18
           The Response fails to provide any authority for the Assistant U.S. Attorney to
19
     unilaterally order a detention facility to restrict a pretrial detainee’s access to all people
20

21   in the outside world save his attorneys.
22
           Valdez v. Rosenbaum, 302 F.3d 1039 (9th Cir. 2009) is the only authority cited in
23
     the Response which involved a restriction imposed based upon only a unilateral
24

25   decision by the prosecutor without any judicial review. Valdez sued the federal
26   prosecutor and others for violating his civil rights when he was a pretrial detainee. The
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 1   Valdez panel did not address whether the prosecutor had authority to unilaterally
 2
     impose a restriction on a pretrial detainee.
 3

 4         In Valdez, the federal prosecutor requested the U.S. Marshal to restrict Valdez

 5   from using the phone until his confederates were arrested on an anticipated
 6
     superseding indictment to prevent Valdez from tipping them off about the arrest
 7

 8
     warrants and thereby endangering law enforcement. As a result, Valdez was placed in

 9   administrative segregation. After a few months, the federal prosecutor requested the
10
     U.S. Marshal lift the restriction after one of the co-conspirators was released on bail
11
     and the restriction was lifted. Valdez, 302 Fed. 3d at 1042-1043.
12

13         The district court granted summary judgment for the defendants finding
14
     although Valdez's constitutional rights had been violated, the defendants were entitled
15
     to qualified immunity. Valdez, 302 F.3d at 1043. However, on appeal, the panel found
16

17   Valdez’ constitutional rights had not been violated. Valdez, 302 F.3d at 1044. Even
18
     though, the federal prosecutor initiated the restriction, the panel viewed the issue as a
19
     “prison regulation” and found it was reasonably related to the government’s legitimate
20

21   interest. Based upon the limited duration of the restriction, the panel found the
22
     defendants acted without punitive intent. Valdez, 302 at 1046.
23
           In Lewis v. King Cnty. Jail, No. C15-1633-JLR-JPD, 2016 WL 8193689, at *1
24

25   (W.D. Wash. Oct. 24, 2016), report and recommendation adopted, No. C15-1633-JLR,
26   2017 WL 464440 (W.D. Wash. Feb. 2, 2017), a pretrial detainee brought a § 1983


                                                2
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 1   action against the jail and the state prosecutor because at the prosecutor’s request, the
 2
     jail had placed the pretrial detainee on “phone deadlock.” Prior to the federal lawsuit,
 3

 4   the pretrial detainee moved the state court to remove him from “phone deadlock,” and

 5   two state court judges denied his motions. Lewis, at *1 and *2. Lewis’ attempted to
 6
     call a witness more than 400 times and during the completed calls he was extremely
 7

 8
     abusive to the witness and attempted to dissuade her from cooperating with the

 9   prosecution in violation of a no-contact order. Lewis, *2. The district court granted
10
     the defendants’ summary judgment motion and dismissed the pretrial detainee’s
11
     amended complaint. Lewis, *5.
12

13         Lewis was only denied phone access. Mr. Bateman has been completely cut off
14
     from the outside world. Undersigned counsel has been informed Mr. Bateman is
15
     unable to receive any visits, send or receive letters or email with anyone except
16

17   counsel.
18
           In Haraszewski v. Brannan, No. 10CV0546-LAB PCL, 2013 WL 4516776, at
19
     *9 (S.D. Cal. Aug. 21, 2013), while the prosecutor initiated the restriction on the
20

21   pretrial detainee’s communications with the outside world, the state court judge
22
     determined the pretrial detainee had written letters to the molestation victims and that
23
     the minor victims needed to be protected from his communications.
24

25         In this case, there is no evidence Haraszewski broke any jail rules, or that
           anyone thought he did. The rule was a court order intended to protect
26         minors who were victims of molestation, and also to prevent witness


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 1         tampering. Although Haraszewski alleges the placement was approved by
 2         a jail officer, Lt. Hillen, it was done at the request of John Morgans, a
           District Attorney's office investigator. Defendants dispute this, and present
 3         unrebutted evidence the decision-makers were others, non-Defendants. But
 4
           no one has suggested the moving force was a jail official. Rather, it seems
           to be agreed that the segregation request came from someone connected
 5         with prosecutors.
 6
     Id.
 7         Unlike the defendant in Haraszeski, the allegations against Mr. Bateman in the
 8
     Response are entirely different. Mr. Haraszekski was charged with molesting four
 9
     minors. Haraszekski, at * 1. Mr. Bateman is charged with Destruction of Records in
10

11   an Official Proceeding and Aiding and Abet; Tampering with an Official Proceeding;
12
     Conspiracy; Destruction of Records in a Federal Investigation and Aid and Abet; and
13
     Kidnapping. (Doc. 23).
14

15         In granting summary judgement for the defendants in Haraszewski, the district
16
     court characterized his letters to the victims as attempting to shape or influence their
17
     testimony at trial. Haraszekski, at * 1. While the Response claims Mr. Bateman
18

19   “direct others to intimidate a government witness and sought to influence potential
20
     testimony,” Response, p. 1: 22-23, the details of the allegations do not support this
21
     conclusion. See Response, p. 4: 1-7.
22

23         The Response claims Mr. Bateman “violated a Coconino County Superior Court
24
     no-contact order.” Response, p. 1: 22. The Response claims Mr. Bateman’s call to
25
     Jane Doe 4, violated this order. Response, p. 4: 13-15. This is inaccurate. The
26



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 1   Superior Court ordered Mr. Bateman to not have contact with “named victims” if he is
 2
     able to post the bond set by the Coconino County Superior Court. Response, Exhibit
 3

 4   2. Mr. Bateman has not posted this bond and thus, this conditional restriction is not in

 5   force.
 6
              The Response claims Mr. Bateman directed “some of his wives to send
 7

 8
     intimidating messages to government witness CM.” Response pp. 4: 19-20 and 8: 20-

 9   21. The Responses alleges the messages were to share a verse of scripture, tell the
10
     witness she picked the wrong religion to hate; and tell her he guaranteed “her and
11
     Little Froggy” have cancer already forming in their bodies. Response, pp. 4-5. Mr.
12

13   Bateman’s comments were simply venting as the messages were not intimidating and
14
     Mr. Bateman has no control over cancer.
15
              The other authorities cited in the Response either did not involve the prosecuting
16

17   attorney unilaterally imposing restrictions on a pretrial detainee or did not involve
18
     pretrial detainees.
19
              In Bell v. Wolfish, 441 U.S. 520, 523(1979), the lawsuit “challenge[d] numerous
20

21   conditions of confinement and practices at the Metropolitan Correctional Center
22
     (MCC), a federally operated short-term custodial facility in New York City designed
23
     primarily to house pretrial detainees.” The Supreme Court wrote, “[p]rison
24

25   administrators therefore should be accorded wide-ranging deference in the adoption
26   and execution of policies and practices that in their judgment are needed to preserve


                                                 5
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 1   internal order and discipline and to maintain institutional security.” Id. 441 U.S. at
 2
     547. See also Frost v. Agnos, 152 F.3d 1124 (9th Cir. 1998) (Pretrial detainee brought
 3

 4
     § 1983 suit against sheriff, corrections officers, and other defendants, alleging

 5   unconstitutional conditions of pretrial confinement in light of detainee's disability.) and
 6
     United States v. Vega-Soto, No. 06CR1242 DMS, 2007 WL 9655860, at *1 (S.D. Cal.
 7

 8
     Apr. 4, 2007) (Pretrial detainee moved moves to compel MCC to modify his pre-trial

 9   conditions of confinement.) 1
10
           The United States Attorney is not a prison administrator. The Assistant United
11
     States Attorney is an advocate seeking to convict Mr. Bateman of serious crimes.
12

13   While the Assistant United States Attorney is certainly justified in bringing any alleged
14
     issues to the attention of the detention officials, it is the facility administrators who are
15
     empowered to administer the facility’s rules within Constitutional limits.
16

17         Other authorities relied upon in the Response involved prison authorities
18
     imposing regulations on prisoners serving sentences, not pretrial detainees.
19

20

21

22
     1
      In United States v. Salerno, 481 U.S. 739 (1987) involved pretrial detainees and the
     Supreme Court held that: (1) Bail Reform Act authorization of pretrial detention on
23   basis of future dangerousness constituted permissible regulation that did not violate
24   substantive due process, and was not impermissible punishment before trial; (2) due
     process clause did not categorically prohibit pretrial detention imposed as regulatory
25   measure on ground of community danger, without regard to duration of detention; and
26   (3) Bail Reform Act authorization of pretrial detention on ground of future
     dangerousness was not facially unconstitutional as violative of Eighth Amendment.

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 1   Michenfelder v. Sumner, 860 F.2d 328 (9th Cir. 1988) (Prisoner, not a pretrial detainee,
 2
     housed in maximum security unit of state prison brought civil rights action challenging
 3

 4   routine strip searches and prison guards' use of “taser guns.”) and Hayat v. Garber, No.

 5   CV 13-1381-PHX-DGC, 2013 WL 5913790, at *1 (D. Ariz. Nov. 1, 2013) (Petitioner
 6
     was serving a 288-month prison sentence and alleged his privileges were rescinded by
 7

 8
     prison administrators without due process.)

 9         Throughout the Response there are unsupported allegations against Mr.
10
     Bateman. Response, pp. 1-6 and 11. Instead of attaching affidavits to support the
11
     allegations, more allegations (a Indictment and a Minute Entry) were attached as
12

13   Exhibits 1 and 2. Mr. Bateman’s Constitutional rights should not be unilaterally
14
     limited by the Assistant United States Attorney based on mere unsupported allegations.
15
           In the event this Court determines it is proper for the Assistant United States
16

17   Attorney to unilaterally limit Mr. Bateman’s Constitutional rights, this Court should
18
     find that the current restrictions are entirely overbroad. Mr. Bateman is currently
19
     prohibited from contacting all humans outside the facility whether by telephone, email,
20

21   letter, or even personal visitation other than his attorneys. Surely, this Court can
22
     fashion a more narrowly tailored order allowing Mr. Bateman to have contact with
23
     people who are neither co-defendants nor alleged victims in a manner that is not too
24

25   burdensome for employees of the facility to monitor.
26



                                                7
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 1         Indeed, as with all detainees in the facility, any letter Mr. Bateman would write,
 2
     and any phone call Mr. Bateman would make is already subject to recording or
 3

 4   screening by the facility. Mr. Bateman should be allowed to have some reasonable

 5   means of communication available to him during his detention especially considering
 6
     he remains presumed innocent of all charges.
 7

 8
     Conclusion:

 9         Mr. Bateman requests this Court issue an order permitting him the same access
10
     other inmates have to communicating with people outside CoreCivic. In the
11
     alternative, he requests a more narrowly tailored order or an evidentiary hearing to
12

13   determine whether the Government’s allegations are supported by evidence and
14
     whether the restrictions are punitive or reasonably related to a legitimate government
15
     interest and no broader than necessary.
16

17         Respectfully submitted March 4, 2023.
18

19
                                            ATTORNEYS FOR FREEDOM LAW FIRM
20

21
                                            /s/ Marc J. Victor
22                                          Attorney for Defendant
23

24

25

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 1                               CERTIFICATE OF SERVICE
 2
            I hereby certify that on March 4, 2023, I filed the Original with the Clerk of the
 3   Court using the CM/ECF System for filing and transmittal of a Notice of Electronic
 4
     Filing to the following CM/CEF registrants:

 5
     Dimitra Sampson, Esq.
 6   Assistant U.S. Attorney
 7   Cindy Castillo, Esq.
     Counsel for Naomi Bistline
 8
     Sandra Kay Hamilton, Esq.
 9   Counsel for Donnae Barlow
10   Stephen Wallin, Esq.
     Counsel for Moretta Johnson
11
     Emailed to chambers:
12
     The Honorable David G. Campbell
13   Campbell_chambers@azd.uscourts.gov
14

15
     By: /s/ Carmen Garcia
16

17

18

19

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21

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